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 9
                           IN THE UNITED STATES DISTRICT COURT
10
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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     LETRINH HOANG, D.O., PHYSICIANS                       2:22-cv-02147-WBS-AC
13   FOR INFORMED CONSENT, a not-for
     profit organization, and CHILDREN’S                   SECOND STIPULATION TO EXTEND
14   HEALTH DEFENSE, CALIFORNIA                            TIME TO RESPOND TO COMPLAINT
     CHAPTER, a California Nonprofit
15   Corporation,                                          Dept:           5
                                                           Judge:          Hon. William B. Shubb
16                                       Plaintiffs,       Trial Date:     Not Scheduled
                                                           Action Filed:   12/01/2022
17                v.
18
     ROB BONTA, in his official capacity as
19   Attorney General of California, and ERIKA
     CALDERON, in her official capacity as
20   Executive Officer of the Osteopathic
     Medical Board of California (“OMBC”),
21
                                      Defendants.
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                          Second Stipulation to Extend Time to Respond to Complaint (2:22-cv-02147-WBS-AC)
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 1                                                   STIPULATION

 2            This stipulation is entered into by and among Plaintiffs and Defendants, by and through

 3   their representative counsel:

 4            WHEREAS,

 5             1.      Plaintiffs filed this action on December 1, 2022;

 6             2.      On December 8, 2022, this matter was related to Hoeg v. Newsom, No. 22-cv-1980

 7   [ECF No. 9];

 8             3.      Plaintiffs filed a motion for a preliminary injunction, which was heard on January

 9   23, 2023;
10             4.      On January 25, 2023, the Court issued an Order granting Plaintiffs’ motion for a
11   preliminary injunction [ECF. No. 30];
12             5.      Per Stipulation and Order, Defendants’ responses to the Complaint are currently
13   due on February 24, 2023;
14             6.      Pending before the United States Court of Appeals for the Ninth Circuit (“Ninth
15   Circuit”) are the consolidated appeals of McDonald, et al. v. Lawson, et al., Appeal No. 22-
16   56220, and Couris, et al. v. Lawson, et al., Appeal No. 23-55069, (the “Consolidated Appeals”),
17   which involve similar constitutional challenges to the same California statute, AB 2098, by
18   plaintiff-physicians;
19             7.      In the Consolidated Appeals, the Ninth Circuit issued a briefing schedule as
20   follows: opening briefs due February 2, 2023, the consolidated answering brief due March 2,

21   2023, and the optional reply briefs due within 21 days after service of the consolidated answering

22   brief;

23             8.      The parties agree that good cause is established for a second extension of time for

24   Defendants to respond to the Complaint because the parties believe that first obtaining an opinion

25   from the Ninth Circuit in the Consolidated Appeals will be beneficial to judicial economy. This

26   extension is the parties’ second request related to the Complaint and will not affect any of the

27   other dates set in this case.

28            This stipulated extension does not constitute a waiver of any claim, right, or defense.
                                                         2
                                Second Stipulation to Extend Time to Respond to Complaint (2:22-cv-02147-WBS-AC)
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 1         THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and among the

 2   undersigned counsel, that Defendants’ responses to the Complaint will be due thirty (30) days

 3   after the date the Ninth Circuit in the Consolidated Appeals issues its mandate. A proposed order

 4   is attached to this stipulation.

 5

 6   Dated: February 21, 2023                                 Respectfully Submitted,
 7                                                           ROB BONTA
                                                             Attorney General of California
 8                                                           ANYA M. BINSACCA
                                                             EDWARD KIM
 9                                                           Supervising Deputy Attorneys General
                                                             KRISTIN A. LISKA
10

11

12
                                                             /s/ Christina Sein Goot
13                                                           CHRISTINA SEIN GOOT
                                                             Deputy Attorneys General
14                                                           Attorneys for Defendants
15
     Dated: February 21, 2023                                 Respectfully Submitted,
16

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18
                                                              /s/ Richard Jaffe______________________
19                                                            (as authorized by email on February 21,
                                                              2023)
20                                                            RICHARD JAFFE
21                                                           ROBERT KENNEDY JR. (Pro Hac Vice)
                                                             Children’s Health Defense
22                                                           Attorneys for Plaintiffs
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                               Second Stipulation to Extend Time to Respond to Complaint (2:22-cv-02147-WBS-AC)
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                              CERTIFICATE OF SERVICE

CASE NAME:            HOANG, ET AL. V. BONTA

USDC CASE NO.          2:22-CV-02147-WBS-AC

I hereby certify that on February 21, 2023, I electronically filed the following documents with
the Clerk of the Court by using the CM/ECF system:

1. SECOND STIPULATION TO EXTEND TIME FOR ALL DEFENDANTS TO RESPOND
TO THE COMPLAINT


I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on February
21, 2023, at Los Angeles, California.


            Naadirah Crawford
                Declarant                                            Signature

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